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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION


  STATE OF TEXAS, et al.,

   Plaintiffs,

   v.                                       Case No. 18-cv-00068

  UNITED STATES OF AMERICA, et al.,

   Defendants,

  and

  KARLA PEREZ, et al.,

  STATE OF NEW JERSEY,

   Defendant-Intervenors.


                       SECOND NOTICE OF COMPLIANCE WITH
                         THE COURT’S ORDER [ECF No. 576]
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        On July 16, 2021, the Court granted Plaintiffs’ Motion for Summary Judgment in part,

 ECF No. 575, and issued a permanent injunction, ECF No. 576. The injunction prohibits the

 Federal Defendants from administering the DACA policy and from reimplementing DACA

 without compliance with the Administrative Procedure Act. The Court stayed portions of its

 permanent injunction, permitting the Federal Defendants to continue to accept but not grant

 requests from initial requestors and to continue to grant renewal requests for existing requestors.

 Pursuant to the Court’s order, the Federal Defendants submit the following:

        1. On July 16, 2021, in order to comply with the Court’s permanent injunction, the U.S.

 Citizenship and Immigration Services (USCIS) instructed its DACA adjudicators to cease

 granting initial DACA requests as of that date. See Exhibit A, Declaration of Tracy L. Renaud

 (“Renaud Decl.”), July 27, 2021, ¶ 5.

        2. As noted, the Court’s injunction permits USCIS to continue to accept new DACA

 requests but specifies that it “may not grant” these requests. ECF No. 576, at 4. USCIS reports,

 however, that nine initial DACA requests were acted upon in error between July 17-19, 2021.

 Id. ¶ 14. The government regrets this error, and USCIS is in the process of correcting it by

 notifying those individuals who received approvals that the approvals were void at the time they

 were issued given this Court’s injunction and that those individuals do not have a valid grant of

 DACA. Id. ¶ 14.

        3. Consistent with the Court’s stay of its injunction, USCIS has instructed DACA

 adjudicators to continue accepting DACA renewal requests from those individuals who had

 obtained DACA on or before July 16, 2021, and granting or denying those requests under

 existing policy. Id. ¶ 6. On July 27, 2021, USCIS published the attached Frequently Asked

 Questions regarding USCIS’s implementation of the Court’s order to its public website. See



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 Exhibit B, Frequently Asked Questions, https://www.uscis.gov/humanitarian/consideration-of-

 deferred-action-for-childhood-arrivals-daca/frequently-asked-questions at 2-8 (July 27, 2021)

 (last visited July 27, 2021).

        4. With respect to “DACA recipients who obtained that status on or before the date of

 [the Court’s] injunction,” the Court has permitted the Federal Defendants to grant “DACA

 renewal applications for these existing recipients (regardless of when the renewal applications

 are submitted).” ECF No. 576, at 4. Since 2014, USCIS’s longstanding policy has been to

 accept renewal requests from individuals whose deferred action under DACA has been expired

 for less than a year, and those individuals would have obtained DACA as a renewal prior to this

 Court’s injunction. See USCIS, Renew Your DACA,

 https://www.uscis.gov/humanitarian/renew-your-daca (“Please note, if you file after your most

 recent DACA period expired, but within one year of its expiration, you may submit a request to

 renew your DACA.”); see also Renaud Decl. ¶ 9 (describing longstanding policy). The Federal

 Defendants understand the Court’s order to allow USCIS to grant renewal to these individuals,

 all of whom originally received DACA on or before the date of the Court’s injunction. Absent

 further guidance from this Court, the Federal Defendants will continue to act on that category of

 renewal requests in accordance with USCIS’s preexisting renewal policy and consistent with the

 Court’s stay allowing grants of renewal requests for individuals previously granted DACA.




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 Dated: July 27, 2021                             Respectfully submitted,
 BRIAN M. BOYNTON                                 /s/ Jeffrey S. Robins
 Acting Assistant Attorney General                JEFFREY S. ROBINS
 Civil Division                                   Attorney-in-Charge
                                                  Deputy Director
 AUGUST E. FLENTJE
 Special Counsel                                  JAMES J. WALKER
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 WILLIAM C. PEACHEY                               Civil Division
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                                                  Washington, D.C. 20044
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                                                  Attorneys for Federal Defendants




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                                    CERTIFICATE OF SERVICE


           I certify that on July 27, 2021, this document was electronically filed with the Clerk of

 the Court using the CM/ECF system, which will send notification of such filing to all counsel of

 record.

                                                         /s/ Jeffrey S. Robins
                                                         JEFFREY S. ROBINS
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                             DECLARATION OF TRACY L. RENAUD

 I, Tracy L. Renaud, hereby make the following declaration with respect to the above-captioned

 matters:

        1.     I am the Acting Director of U.S. Citizenship and Immigration Services (USCIS),

 Department of Homeland Security. As the Acting Director of USCIS, I am responsible for

 overseeing approximately 20,000 federal employees and contractors, who handle approximately

 26,000 immigration benefit applications, petitions, and other requests on an average day.

        2.     Prior to January 21, 2021, I served as the Associate Director of the Service Center

 Operations Directorate. I’ve also had prior roles as the Acting Deputy Director and Associate

 Director of the Management Directorate within USCIS, among other roles in the more than 39

 years that I have worked for USCIS and legacy INS.

        3.     I make the following declaration based on my personal knowledge and on

 information made available to me in the performance of my official duties as Acting Director of

 USCIS.

        4.     I have reviewed the Court’s July 16, 2021 injunction, which:

               a.      Requires DHS to cease approving any new DACA “applications” received

        by DHS and cease granting DACA to any new “applicants” not granted on or before the

        date of the order;

               b.      Permits DHS to continue to accept initial DACA “applications” and

        renewal DACA “applications”;

               c.      Permits DHS to continue to approve DACA renewal “applications,” and

        administer the DACA policy for DACA “recipients,” which USCIS understands to

        include, among other things, adjudicating attendant work authorization applications,

        adjudicating advance parole applications, and granting requests for replacement of

        previously issued documents; and

               d.       Required DHS to post a public notice by Monday, July 19, 2021, to be

        displayed prominently on its website, that a U.S. District Court has found the DACA

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        program to be illegal and that, although applicants may continue to submit applications,

        the Government is prohibited from granting such applications, as well as provide a copy

        of the notice to all counsel and post to the docket.

        5.      On July 16, 2021, USCIS sent guidance to DACA adjudicators to cease granting

 initial DACA requests and related work authorization requests, as well as to cease scheduling

 biometrics appointments for initial DACA requestors.
        6.      Consistent with the Court’s stay of its injunction, USCIS also instructed DACA

 adjudicators to continue adjudicating DACA renewal requests from those individuals who had

 obtained DACA on or before July 16, 2021.

        7.      USCIS also instructed its workforce that it could continue to accept both initial

 and renewal DACA requests.

        8.      Pursuant to longstanding DACA policy and practice, initial DACA requests

 include:

                a.     Requests from filers who have never been granted DACA,

                b.     Requests from filers who previously had a grant of DACA, but are filing

        more than a year after their last grant of DACA expired,

                c.     Requests from filers who previously had a grant of DACA but their last

        grant of DACA was terminated.

        9.      Pursuant to longstanding DACA policy and practice in place since 2014, USCIS

 adjudicates renewal DACA requests from individuals who previously held DACA and file within

 one year of the date their prior grant of DACA expired. USCIS understands this practice to be

 consistent with the terms of the Court’s injunction and is continuing to adjudicate such renewal

 requests.

        10.     On July 16, 2021, USCIS halted the scheduling of any DACA requests for

 biometrics appointments at the Application Support Centers (ASC) so that no new appointments

 for initial DACA requestors were scheduled. USCIS is in the process of removing pending




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 initial requests from the scheduling pool for biometrics appointments and implementing system-

 based stops to prevent future scheduling.

           11.    On July 16, 2021, and within the early morning hours of July 17, adjustments

 were made to ELIS (the internal USCIS electronic system used to adjudicate DACA requests) to

 prevent adjudicators from being able to process DACA initial requests for adjudication.

           12.    On July 18, 2021, USCIS notified individuals with pending initial DACA requests

 who had already been scheduled for biometrics appointments that their ASC appointments had

 been canceled, through text messages and emails, as well as a message to the eGov delivery

 service. There were approximately 9,800 individuals with pending initial DACA requests

 scheduled for biometrics between July 19, 2021 and August 6, 2021.

           13.    Despite the messaging campaign, most of the scheduled requestors arrived at the

 ASCs for the appointments throughout the week of July 19. USCIS provided the contractor that

 operates the 131 ASCs across the U.S. and its territories with a list of all initial DACA requestors

 with instructions not to collect biometrics from these requestors. However, as of July 26th,
 approximately 52 initial DACA requestors had biometrics collected throughout the

 week. USCIS determined that in each case, the cause was human error. USCIS is continuously

 reinforcing communications with the vendor to ensure that no further initial DACA requestors

 are processed for biometrics. Initial DACA requests for individuals who had biometrics

 collected despite the cancellation of their appointments, will not move forward with adjudication.

           14.    On Monday, July 19, 2021 USCIS identified nine initial DACA cases that were

 acted upon between Saturday, July 17 and Monday, July 19. USCIS was able to immediately

 intervene in one case before any notice was issued to the requestor, and has taken the following

 remedial steps to address the eight remaining cases, and further safeguard against any additional

 errors:

                  a.     USCIS identified that the adjustments to ELIS did not prevent cases

           already assigned to a work queue from being processed it only prevented additional




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         initial cases from being newly assigned to an adjudicator’s work queue. USCIS

         subsequently unassigned all DACA initial requests from adjudicators’ work queues.

                 b.     USCIS was able to prevent all related EAD cards from being mailed for

         the DACA initial requests acted on after July 16, 2021. Six EAD cards were able to be

         pulled from production entirely, and the additional two cards were manually pulled after

         production to prevent the cards from being mailed.

                 c.     USCIS is advising the remaining eight initial individuals that their DACA

         approvals were void at the time of issuance and that they have not been granted DACA

         given this Court’s order. The cases have been returned to pending status and will remain

         on hold with all other DACA initial requests.

                 d.     Beginning on July 19, 2021, USCIS has run data inquiries multiple times a

         day to identify any initial DACA requests in any workflow queues so they may be

         removed. To date, the inquiries have shown no new DACA initials filings have been

         adjudicated.

         15.     For individuals whose initial DACA requests (Forms I-821D) had been approved

  in USCIS systems on or before July 16, 2021, and for whom the Court stayed its injunction on

  DACA, USCIS interprets the Court’s stay of its injunction to permit such existing DACA

  recipients to continue receiving their approval notices and I-766 Employment Authorization
  Documents (EADs) even if issued after the date of approval of their DACA request by USCIS

  adjudicators. Notices of DACA grants and associated EADs are routinely issued subsequent to

  the date on which the grant actually occurred simply due to the lag time to create and mail

  notices and/or EADs. Some Forms I-765 are adjudicated after the I-821D is approved,

  depending on whether all evidence has been received for purposes of the Form I-765

  adjudication. If the Form I-765 is approved later for a requestor who was granted initial DACA

  on or before July 16, 2021, the EAD will bear a validity date period that runs from the later

  approval date of the Form I-765 for employment authorization, not the Form I-821D for DACA,

  through the end date for the recipient’s DACA grant.


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         16.     USCIS continues to accept and process DACA renewals.

         17.     USCIS believes that the technological and systematic solutions described in

  paragraph 14 will provide a stop gap to prevent the issuance of new initial DACA grants.

         18.     On July 19, 2021 USCIS updated its website to reflect that a U.S. District Court

  has found the DACA program to be illegal and that, although applicants may continue to submit

  applications, the Government is prohibited from granting such applications, as well as provide a

  copy of the notice to all counsel and post to the docket.



  I declare under penalty of perjury that the foregoing is true and correct to the best of my

  knowledge.


  Executed this 27th day of July of 2021.

  TRACY L Digitally         signed by
                    TRACY L RENAUD

  RENAUD            Date: 2021.07.27
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  ___________________________________
  Tracy L. Renaud
  Acting Director,
  U.S. Citizenship and Immigration Services
  Department of Homeland Security




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                                                USCIS Response to Coronavirus (COVID-19)




    Home > Humanitarian > Consideration of Deferred Action for Childhood Arrivals (DACA) > Frequently
    Asked Questions
    Frequently Asked Questions
           DACA Decision in State of Texas, et al., v. United States of America, et al., 1:18-CV-00068,
               (S.D. Texas July 16, 2021) (“Texas II”):
               On July 16, 2021, the U.S. District Court for the Southern District of Texas held that the DACA
               policy “is illegal.” The Court granted summary judgment on plaintiffs’ Administrative
               Procedure Act (APA) claims; vacated the June 15, 2012 DACA memorandum issued by former
               Secretary of Homeland Security Napolitano; remanded the memorandum to DHS for further
               consideration; and issued a permanent injunction prohibiting the government’s continued
               administration of DACA and the reimplementation of DACA without compliance with the APA.
               The Court, however, temporarily stayed its order vacating the DACA memorandum and its
               injunction with regard to individuals who obtained DACA on or before July 16, 2021, including
               those with renewal requests.
               Consistent with this order (PDF, 401.59 KB), DHS will continue to accept the filing of both initial
               and renewal DACA requests, as well as accompanying requests for employment authorization.
               However, pursuant to the July 16, 2021 order from the Southern District of Texas, DHS is
               prohibited from granting initial DACA requests and accompanying requests for employment
               authorization. Also consistent with that order, DHS will continue to grant or deny renewal DACA
               requests, according to existing policy.


           Alert: In compliance with an order of a United States District Court, and effective Dec. 7, 2020,
               U.S. Citizenship and Immigration Services (USCIS) is:
                      Accepting first-time requests for consideration of deferred action under Deferred Action
                      for Childhood Arrivals (DACA) based on the terms of the DACA policy in effect prior to
                      September 5, 2017, and in accordance with the Court’s Dec. 4, 2020, order;
                      Accepting DACA renewal requests based on the terms of the DACA policy in effect prior to
                      Sept.5, 2017, and in accordance with the Court’s Dec. 4, 2020, order;
                      Accepting applications for advance parole documents based on the terms of the DACA
                      policy prior to Sept. 5, 2017, and in accordance with the Court’s Dec. 4, 2020, order;
                      Extending one-year grants of deferred action under DACA to two years; and
                      Extending one-year employment authorization documents under DACA to two years.
https://www.uscis.gov/humanitarian/consideration-of-deferred-action-for-childhood-arrivals-daca/frequently-asked-questions   1/33
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               USCIS will take appropriate steps to provide evidence of the one-year extensions of deferred
               action and employment authorization documents under DACA to individuals who were issued
               documentation on or after July 28, 2020, with a one-year validity period under the defunct
               policy.
               DHS will comply with the order while it remains in effect, but DHS may seek relief from the
               order.

    Additional Information: DACA Decision in State of Texas, et al., v. United States of America, et al.,
    1:18-CV-00068, (S.D. Texas July 16, 2021) (“Texas II”):
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        General                                                                                                                         

        1. What is the latest information regarding Deferred Action for Childhood Arrivals (DACA)?
              On July 16, 2021, the U.S. District Court for the Southern District of Texas declared the DACA
              policy “illegal” and vacated the June 15, 2012, memorandum issued by the Department of
              Homeland Security (DHS) that created DACA. It remanded the memorandum to DHS for further
              consideration.
              The court further issued a permanent injunction (PDF, 401.59 KB) prohibiting DHS’s continued
              administration and reimplementation of DACA without compliance with the Administrative
              Procedure Act, but temporarily stayed the permanent injunction as to individuals who obtained
              DACA on or before July 16, 2021, including individuals with renewal requests.
        2. What did the court’s order say? What does that mean?
              The July 16, 2021, order from the Southern District of Texas specifically allows DHS to continue
              to accept initial as well as renewal requests.
              Therefore, consistent with this order, U.S. Citizenship and Immigration Services (USCIS), a
              component of DHS, will continue to accept the filing of both initial and renewal DACA requests,
              as well as accompanying requests for employment authorization, but will not grant initial DACA
              requests after July 16, 2021, and their accompanying requests for employment authorization.
              USCIS will continue to grant or deny renewal DACA requests, according to existing policy.
              DHS will comply with this court order while it remains in effect. DHS is working with the
              Department of Justice (DOJ) to seek appeal of the district court’s decision.
              DHS will also continue to engage the public in a rulemaking process to preserve and fortify
              DACA, consistent with the January 2021 presidential memorandum.
        3. Is the DACA policy over?
              No. While the court order does not allow USCIS to approve initial DACA requests, we are
              presently able to continue processing DACA renewals and associated applications because the
              court temporarily stayed its injunction as to these requests.
https://www.uscis.gov/humanitarian/consideration-of-deferred-action-for-childhood-arrivals-daca/frequently-asked-questions                  2/33
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              Moreover, USCIS will continue accepting initial DACA requests. However, pursuant to the July 16,
              2021, order from the Southern District of Texas, DHS is prohibited from granting initial DACA
              requests after July 16, 2021, and their accompanying requests for employment authorization.
              USCIS will continue to:
                Adjudicate requests for DACA renewals and associated applications for employment
                authorization documents (EADs) and advance parole.
                Accept and process applications for advance parole and replacement EADs from DACA
                recipients.
        4. What does this recent court decision mean if I am:
              A current DACA recipient: If you currently have DACA and your work authorization has not
              expired, your DACA is still in effect, and you are eligible to request renewal at the appropriate
              time.
              A renewal DACA requestor: Individuals requesting DACA on a renewal basis may continue to
              submit DACA requests. USCIS will continue to process and issue a decision on your renewal
              DACA request.
              An initial DACA requestor: While USCIS will accept your initial DACA request, we are prohibited
              from granting initial requests or an accompanying application for employment authorization
              while the court order from the Southern District of Texas remains in effect. If you have an initial
              DACA request pending, your request is on hold while the court order remains in effect.
              For more information about submitting initial DACA requests or renewal DACA requests, see
              additional questions and answers below.

        5. What is considered an “initial” DACA request?
              An initial request for DACA includes:
                A first-time request for DACA;
                A request filed by an individual who was previously granted DACA but did not request renewal
                within one year of the expiration; or
                A request filed by an individual whose most recent DACA grant was terminated.
        6. What is considered a “renewal” DACA request?
              A renewal DACA request includes:
                 A request filed by an individual with a current DACA grant; or
                 A request filed by an individual who has a DACA grant that expired less than a year ago.
        7. What does this mean if I have an initial DACA request currently pending with USCIS?
              USCIS is not permitted to approve initial DACA requests or accompanying applications for
              employment authorization while the court order from the Southern District of Texas remains in
              effect. Therefore, if you have an initial DACA request pending with USCIS, your request will
              remain on hold in compliance with the court order. At this time, USCIS is holding cases, rather
              than rejecting or closing them. While USCIS holds these cases, they will remain pending, though
https://www.uscis.gov/humanitarian/consideration-of-deferred-action-for-childhood-arrivals-daca/frequently-asked-questions   3/33
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              under the July 16 court order USCIS is not 13512
                                                         able to grant the requests that are on hold. Because
              these cases will remain on hold while the court order is in effect, USCIS will not issue refunds for
              initial DACA requests that remain on hold while the court order is in effect.
              USCIS may issue further guidance on this subject as the Southern District of Texas litigation
              continues.
        8. How will the Southern District of Texas decision affect the processing times for DACA
        requests?
              At this time, USCIS cannot predict the effect this decision may have on processing times for
              initial DACA requests, as DHS is prohibited from approving initial requests or an accompanying
              applications for employment authorization under the court’s July 16 order. However, we
              maintain our goal of processing DACA renewal requests generally within 120 days and are
              committed to minimizing any processing delays for renewal requests. You may submit an
              inquiry about the status of your renewal request after it has been pending more than 105 days.
              To submit an inquiry online, please visit egov.uscis.gov/e-request.
              Please Note: Factors that may affect the timely processing of your DACA renewal request
              include, but are not limited to:
                 Failure to appear at an Application Support Center (ASC) for a scheduled biometrics
                 appointment to obtain fingerprints and photographs. No-shows or rescheduling
                 appointments will require additional processing time;
                 Issues of national security, criminality or public safety discovered during the background
                 check process that require further vetting;
                 Issues of travel abroad that need additional evidence/clarification;
                 Name/date of birth discrepancies that may require additional evidence/clarification; or
                 The renewal submission was incomplete or contained evidence that suggests a requestor may
                 not satisfy the DACA renewal guidelines, and USCIS must send a request for additional
                 evidence or explanation.
        9. I have another type of immigration benefit application or petition pending in addition to my
        DACA request. Does this court order impact my other benefit application or petition?
              No. While this court order prohibits USCIS from granting initial DACA requests after the date of
              the order, July 16, 2021, and their accompanying requests for employment authorization, it does
              not affect other applications, petitions, or requests for immigration benefits.


        Initials                                                                                                             

        10. If I submit an initial DACA request on or after July 16, 2021, what will happen to my DACA
        request?
              USCIS is continuing to accept initial DACA requests. If you file an initial DACA request with USCIS
              on or after July 16, 2021, you will receive a receipt notice, and USCIS will process your payment.
              However, USCIS will not adjudicate your request while the court order remains in effect.
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        11. I received notice that my initial DACA request
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                                                           was approved, but I am still waiting for my
        employment authorization card in the mail. How does the Southern District of Texas ruling
        affect me?
              If USCIS approved your initial DACA request on or before July 16, 2021, your case has not been
              affected by the Southern District of Texas ruling. Please note, however, that if USCIS approved
              your request on or before July 16, 2021, your approval notice and EAD may arrive after that date.
        12. If I received a receipt notice for my initial DACA request, does that mean I was granted
        DACA?
              No. A receipt notice demonstrates that USCIS has received your initial DACA request. It does not
              indicate that your request has been approved.
        13. I completed biometrics for my initial DACA request on July 16, 2021. What will happen to my
        DACA request?
              USCIS will hold your pending DACA request and will not issue a decision while the court order
              remains in effect.
        14. I filed an initial DACA request and am scheduled for a biometrics appointment after July 16,
        2021. What should I do?
              As a result of the court order, all biometrics appointments for initial DACA requestors have been
              cancelled. If you have a biometrics appointment scheduled for after July 16, 2021 for an initial
              DACA request, you should not go to the appointment. Please see our DACA webpage for
              additional details. A cancelled biometrics appointment does not mean that your DACA request
              has been denied or that it will be denied in the future.
        15. Will USCIS issue me a refund if I have filed an initial DACA request?
              At this time, USCIS is not issuing refunds for pending initial DACA requests that remain on hold
              while the court order is in effect.
              USCIS may issue further guidance on this subject as the Southern District of Texas litigation
              continues.
        16. I received a Request for Evidence (RFE) or a Notice of Intent to Deny (NOID) for my initial
        DACA request and that RFE or NOID is still pending. What should I do?
              Although USCIS is prohibited from granting your initial request due to the court order, you may
              respond to the RFE or NOID within the requested time frame. Ensuring your filing is complete
              will help USCIS to make a timely decision in your case if USCIS is permitted to resume
              adjudication of initial DACA requests in the future.


        Renewals                                                                                                             

        17. I currently have DACA and it is about to expire. Can I file for a renewal?

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              Yes. The court order has not impacted or changed   the filing process for DACA renewals. If there is
              a change to the effectiveness or scope of the court’s order, USCIS will publish revised
              information.
        18. Should I renew early?
              USCIS strongly encourages DACA recipients to file their renewal requests 120 to 150 days (four to
              five months) before the expiration of their current DACA validity period.
        19. Is there a chance USCIS will stop accepting DACA renewals in the future?
              At this time, the court order has not impacted the filing process for DACA renewals. If that
              changes, USCIS will publish revised information.
        20. I had DACA and it expired within the last 12 months. Am I eligible to renew?
              If you file after your most recent DACA period expired, but within one year of its expiration, a
              new request is considered a renewal request, not an initial request, and you may submit a
              request to renew your DACA pursuant to preexisting USCIS policy. The court order has not
              disturbed the filing process for DACA renewals.
        21. If it has been more than a year since my last grant of DACA expired, can I still apply for
        renewal?
              If you submit a DACA request more than one year since your last grant of DACA expired or after
              your most recent DACA grant was terminated (at any time), your request is considered an initial
              request, not a renewal, pursuant to preexisting USCIS policy.
              USCIS can accept initial DACA requests, but it is prohibited from approving them while this court
              order remains in effect.
              You will be issued a receipt notice, and your payment will be accepted. However, the request will
              not be further processed, in compliance with the court order.
        22. I filed a timely DACA renewal request. It is still pending, and my prior DACA grant has
        expired. Is my pending DACA request still valid, and will it, along with my application for
        employment authorization, be processed?
              Yes, USCIS will continue to process timely filed DACA renewal requests and associated
              employment authorization applications. If that changes, USCIS will publish revised information.
              However, please note that consistent with long-standing DACA policy, if your DACA expires
              before USCIS approves your renewal request, you do not have DACA for the period between the
              expiration of your prior DACA and the start of your new period of DACA.
        23. I filed a DACA renewal request and am scheduled for biometrics after July 16, 2021. What
        should I do?
              You should attend your scheduled biometrics appointment and proceed with the DACA renewal
              process.


        Advance Parole
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        Advance Parole
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        24. Is advance parole open for DACA recipients right now? Can I apply for advance parole?
              Yes. USCIS will continue to accept and adjudicate applications for advance parole for current
              DACA recipients.
        25. My advance parole application is still pending. Will USCIS process it?


              Yes, at the present time the court’s order allows USCIS to continue to process applications for
              advance parole for current DACA recipients. If that should change, USCIS will provide updated
              information.


        26. I was approved for advance parole. How does the Southern District of Texas decision affect
        me?
              If your application for advance parole has been approved, the order from the Southern District
              of Texas does not affect that approval. Please note, all individuals returning to the U.S. are still
              subject to immigration inspection at a port of entry.


        27. I have DACA and am currently abroad using advance parole. Can I still return to the U.S.
        using my advance parole under DACA?
              Yes, if you currently have DACA and are abroad using advance parole, you may return to the U.S.
              using your advance parole under the same conditions that were in effect before the order from
              the Southern District of Texas. Please note, all individuals returning to the U.S. are still subject to
              immigration inspection at a port of entry.


        28. I filed an advance parole application and am scheduled for biometrics after July 16, 2021.
        What should I do?
              You should attend your biometrics appointment and proceed with the advance parole
              application process.


        29. I have DACA and I need to travel abroad for emergency reasons now. What should I do?
              If you currently have DACA, you may apply for advance parole. If you are experiencing an
              extremely urgent situation, you may request an emergency advance parole appointment at your
              local field office through the USCIS Contact Center. You should bring the following items to your
              appointment:
                  A completed and signed Form I-131, Application for Travel Document;
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                The correct Form I-131 filing fee;
                Evidence to support the emergency request (for example, medical documentation, death
                certificate, etc.); and
                Two passport-style photos.
              For more information, please see the DACA Frequently Asked Questions.


        Employers                                                                                                                       

        30. What should I do if my current or new employee is a DACA recipient?
              While portions of the court’s order are stayed, the court order does not disturb the grant of
              deferred action or the validity of work authorization for current DACA recipients. USCIS will also
              continue to adjudicate requests for DACA renewal and associated applications for employment
              authorization. USCIS will also continue to accept and adjudicate applications for replacement
              EADs. Your current and new employees with DACA may continue to receive valid EADs after the
              date of the court order.
              No action is required for current employees who are DACA recipients who have presented valid
              EADs.
              New employees who are DACA recipients and who present valid EADs are also authorized to
              work. See I-9 Central for more information on completing Form I-9 for new employees as well as
              additional employment authorization documents DACA recipients may present.
              The court’s decision is not a basis to ask any employee to show more or different
              documentation to verify or reverify their employment authorization on Form I-9.
              If you participate in E-Verify, the system can confirm identity and employment eligibility for new
              employees who are DACA recipients with a valid and unexpired EAD.
              For information about the rights of employees, please see the U.S. Department of Justice, Civil
              Rights Division, Immigrant and Employee Rights Section’s information on employee rights.

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          DACA Process
          What is Deferred Action for Childhood Arrivals?
          General Information for All Requestors
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          Criminal Convictions                                           13517

          Miscellaneous

    I. General Information for All Requestors
    A. What is Deferred Action for Childhood Arrivals?
     As the Department of Homeland Security (DHS) continues to focus its enforcement resources on the
    removal of individuals who pose a danger to national security or a risk to public safety, DHS will exercise
    prosecutorial discretion as appropriate to ensure that enforcement resources are not expended on low
    priority cases, such as individuals who came to the United States as children and meet other key
    guidelines. Individuals who demonstrate that they meet the guidelines below may request consideration
    of deferred action for childhood arrivals (DACA) for a period of two years, subject to renewal for a period of
    two years, and may be eligible for employment authorization.
    You may request consideration of DACA if you:
       1. Were under the age of 31 as of June 15, 2012;
       2. Came to the United States before reaching your 16th birthday;
       3. Have continuously resided in the United States since June 15, 2007, up to the present time;
       4. Were physically present in the United States on June 15, 2012, and at the time of making your request
          for consideration of deferred action with USCIS;
       5. Had no lawful status on June 15, 2012, meaning that:
              You never had a lawful immigration status on or before June 15, 2012*, or
              Any lawful immigration status or parole that you obtained prior to June 15, 2012, had expired as of
              June 15, 2012;
       6. Are currently in school, have graduated or obtained a certificate of completion from high school, have
          obtained a General Educational Development (GED) certificate, or are an honorably discharged
          veteran of the Coast Guard or Armed Forces of the United States; and
       7. Have not been convicted of a felony, a significant misdemeanor, three or more other misdemeanors,
          and do not otherwise pose a threat to national security or public safety.
    * Please review DACA FAQ 18 if you are currently in a lawful immigration status.
    Individuals can call U.S. Citizenship and Immigration Services (USCIS) at 800-375-5283 with
    questions or to request more information on DACA. Those with pending requests can also use a number
    of online self-help tools which include the ability to check case status and processing times, change your
    address, and send an inquiry about a case pending longer than posted processing times or non-delivery of
    a card or document.
    Q1: What is deferred action?
    A1: Deferred action is a discretionary determination to defer a removal action of an individual as an act of
    prosecutorial discretion. For purposes of future inadmissibility based upon unlawful presence, an
    individual whose case has been deferred is not considered to be unlawfully present during the period in
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    which deferred action is in effect. An individual who has received deferred action is authorized by DHS to
    be present in the United States, and is therefore considered by DHS to be lawfully present during the
    period deferred action is in effect. However, deferred action does not confer lawful status upon an
    individual, nor does it excuse any previous or subsequent periods of unlawful presence.
    Under existing regulations, an individual whose case has been deferred is eligible to receive employment
    authorization for the period of deferred action, provided he or she can demonstrate “an economic
    necessity for employment.” DHS can terminate or renew deferred action at any time, at the agency’s
    discretion.
    Q2: What is DACA?
    A2: On June 15, 2012, the secretary of Homeland Security announced that certain people who came to the
    United States as children and meet several key guidelines may request consideration of deferred action for
    a period of two years, subject to renewal, and would then be eligible for work authorization.
    Individuals who can demonstrate through verifiable documentation that they meet these guidelines will
    be considered for deferred action. Determinations will be made on a case-by-case basis under the DACA
    guidelines.
    Q3: Is there any difference between “deferred action” and DACA under this process?
    A3: DACA is one form of deferred action. The relief an individual receives under DACA is identical for
    immigration purposes to the relief obtained by any person who receives deferred action as an act of
    prosecutorial discretion.
    Q4: If my removal is deferred under the consideration of DACA, am I eligible for employment
    authorization?
    A4: Yes. Under existing regulations, if your case is deferred, you may obtain employment authorization
    from USCIS provided you can demonstrate an economic necessity for employment.
    Q5: If my case is deferred, am I in lawful status for the period of deferral?
    A5: No. Although action on your case has been deferred and you do not accrue unlawful presence (for
    admissibility purposes) during the period of deferred action, deferred action does not confer any lawful
    status.
    The fact that you are not accruing unlawful presence does not change whether you are in lawful status
    while you remain in the United States. However, although deferred action does not confer a lawful
    immigration status, your period of stay is authorized by the Department of Homeland Security while your
    deferred action is in effect and, for admissibility purposes, you are considered to be lawfully present in the
    United States during that time. Individuals granted deferred action are not precluded by federal law
    from establishing domicile in the U.S.
    Apart from the immigration laws, “lawful presence,” “lawful status” and similar terms are used in various
    other federal and state laws. For information on how those laws affect individuals who receive a favorable
    exercise of prosecutorial discretion under DACA, please contact the appropriate federal, state or local
    authorities.
    Q6: Can I renew my period of deferred action and employment authorization under DACA?
    A6: Yes. You may request consideration for a renewal of your DACA. Your request for a renewal will be
    considered on a case-by-case basis. If USCIS renews its exercise of discretion under DACA for your case,

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    you will receive deferred action for another two years, and if you demonstrate an economic necessity for
    employment, you may receive employment authorization throughout that period.
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    B. DACA Process
    Q7: How do I request consideration of DACA?
    A7: To request consideration of DACA (either as an initial request or to request a renewal), you must submit
    Form I-821D, Consideration of Deferred Action for Childhood Arrivals to USCIS. Please visit uscis.gov/i-
    821d before you begin the process to make sure you are using the most current version of the form
    available. This form must be completed, properly signed and accompanied by a Form I-765, Application
    for Employment Authorization, and a Form I-765WS, Worksheet (PDF, 238.54 KB), establishing your
    economic need for employment. If you fail to submit a completed Form I-765 (along with the
    accompanying filing fees for that form, please see the Form I-821D page for more information), USCIS will
    not consider your request for deferred action. Please read the form instructions to ensure that you answer
    the appropriate questions (determined by whether you are submitting an initial or renewal request) and
    that you submit all the required documentation to support your initial request.
    You must file your request for consideration of DACA at the USCIS Lockbox. You can find the mailing
    address and instructions at www.uscis.gov/i-821d. After your Form I-821D, Form I-765, and Form I-765
    Worksheet have been received, USCIS will review them for completeness, including submission of the
    required fee, initial evidence and supporting documents (for initial filings).
    If it is determined that the request is complete, USCIS will send you a receipt notice. USCIS will then send
    you an appointment notice to visit an Application Support Center (ASC) for biometric services, if an
    appointment is required. Please make sure you read and follow the directions in the notice. Failure to
    attend your biometrics appointment may delay processing of your request for consideration of deferred
    action, or may result in a denial of your request. You may also choose to receive an email and/or text
    message notifying you that your form has been accepted by completing a Form G-1145, E-Notification of
    Application/Petition Acceptance.
    Each request for consideration of DACA will be reviewed on an individual, case-by-case basis. USCIS may
    request more information or evidence from you, or request that you appear at a USCIS office. USCIS will
    notify you of its determination in writing.
    Note: All individuals who believe they meet the guidelines, including those in removal proceedings, with a
    final removal order, or with a voluntary departure order (and not in immigration detention), may
    affirmatively request consideration of DACA from USCIS through this process. Individuals who are
    currently in immigration detention and believe they meet the guidelines may not request consideration of
    deferred action from USCIS but may identify themselves to their ICE case officer or follow directions at
    ICE’s website at www.ice.gov/daca. This website also contains further information.
    Q8: Can I obtain a fee waiver or fee exemption for this process?
    A8: There are no fee waivers available for employment authorization applications connected to DACA.
    There are very limited fee exemptions available. Requests for fee exemptions must be filed and favorably
    adjudicated before an individual files his/her request for consideration of DACA without a fee. In order to
    be considered for a fee exemption, you must submit a letter and supporting documentation to USCIS
    demonstrating that you meet one of the following conditions:
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          You are under 18 years of age, homeless, in foster  care or under 18 years of age and otherwise lacking
          any parental or other familial support and your income is less than 150% of the U.S. poverty level; or
          You cannot care for yourself because you suffer from a serious, chronic disability and your income is
          less than 150 percent of the U.S. poverty level; or
          You have, at the time of the request, accumulated $10,000 or more in debt in the past 12 months as a
          result of unreimbursed medical expenses for yourself or an immediate family member, and your
          income is less than 150 percent of the U.S. poverty level.
    You can find additional information on our Fee Exemption Guidance Web page. Your request must be
    submitted and decided before you submit a request for consideration of DACA without a fee. In order to be
    considered for a fee exemption, you must provide documentary evidence to demonstrate that you meet
    any of the above conditions at the time that you make the request. For evidence, USCIS will:
          Accept affidavits from community-based or religious organizations to establish a requestor’s
          homelessness or lack of parental or other familial financial support.
          Accept copies of tax returns, bank statement, pay stubs, or other reliable evidence of income level.
          Evidence can also include an affidavit from the applicant or a responsible third party attesting that
          the applicant does not file tax returns, has no bank accounts, and/or has no income to prove income
          level.
          Accept copies of medical records, insurance records, bank statements, or other reliable evidence of
          unreimbursed medical expenses of at least $10,000.
          Address factual questions through Requests for Evidence (RFEs).
    Q9: If individuals meet the guidelines for consideration of DACA and are encountered by U.S.
    Customs and Border Protection (CBP) or U.S. Immigration and Customs Enforcement (ICE), will they
    be placed into removal proceedings?
    A9: DACA is intended, in part, to allow CBP and ICE to focus on priority cases. Under the direction of the
    Secretary of Homeland Security, if an individual meets the guidelines for DACA, CBP or ICE should exercise
    their discretion on a case-by-case basis to prevent qualifying individuals from being apprehended, placed
    into removal proceedings, or removed. If individuals believe that, in light of this policy, they should not
    have been apprehended or placed into removal proceedings, contact your case officer or the ICE
    Detention Reporting and Information Line at 1-888-351-4024 (staffed 8 a.m. – 8 p.m., Monday – Friday); or
    email ERO.INFO@ice.dhs.gov.
    Q10: Does this process apply to me if I am currently in removal proceedings, have a final removal
    order, or have a voluntary departure order?
    A10: This process is open to any individual who can demonstrate he or she meets the guidelines for
    consideration, including those who have never been in removal proceedings as well as those in removal
    proceedings, with a final order, or with a voluntary departure order (as long as they are not in immigration
    detention).
    Q11: If I am not in removal proceedings but believe I meet the guidelines for consideration of DACA,
    should I seek to place myself into removal proceedings through encounters with CBP or ICE?
    A11: No. If you are not in removal proceedings but believe that you meet the guidelines, you should submit
    your DACA request to USCIS under the process outlined below.
    Q12: Can I request consideration of DACA from USCIS if I am in immigration detention under the
    custody of ICE?
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    A12: No. If you are currently in immigration detention, you may not request consideration of DACA from
    USCIS. If you think you may meet the guidelines of this process, you should identify yourself to your ICE
    case officer or follow procedures on ICE’s website at www.ice.gov/daca, which also contains further
    information.
    Q13: If I am about to be removed by ICE and believe that I meet the guidelines for consideration of
    DACA, what steps should I take to seek review of my case before removal?
    A13: If you believe you can demonstrate that you meet the guidelines and are about to be removed, you
    should immediately contact your case officer or the ICE Detention Reporting and Information Line at 1-
    888-351-4024 (staffed 8 a.m. – 8 p.m., Monday – Friday); or email ERO.INFO@ice.dhs.gov.
    Q14: What should I do if I meet the guidelines of this process and have been issued an ICE detainer
    following an arrest by a state or local law enforcement officer?
    A14: If you meet the guidelines and have been served a detainer, you should immediately contact the ICE
    Detention Reporting and Information Line at 1-888-351-4024 (staffed 8 a.m. – 8 p.m., Monday – Friday); or
    email ERO.INFO@ice.dhs.gov.
    Q15: If I accepted an offer of administrative closure under the case-by-case review process or my
    case was terminated as part of the case-by-case review process, can I be considered for deferred
    action under this process?
    A15: Yes. If you can demonstrate that you meet the guidelines, you will be able to request consideration of
    DACA even if you have accepted an offer of administrative closure or termination under the case-by-case
    review process.
    Q16: If I declined an offer of administrative closure under the case-by-case review process, can I be
    considered for deferred action under this process?
    A16: Yes. If you can demonstrate that you meet the guidelines, you will be able to request consideration of
    DACA even if you declined an offer of administrative closure under the case-by-case review process.
    Q17: If my case was reviewed as part of the case-by-case review process but I was not offered
    administrative closure, can I be considered for deferred action under this process?
    A17: Yes. If you can demonstrate that you meet the guidelines, you will be able to request consideration of
    DACA even if you were not offered administrative closure following review of your case as part of the case-
    by-case review process.
    Q18: Can I request consideration of DACA under this process if I am currently in a nonimmigrant
    status (e.g. F-1, E-2, H-4) or have Temporary Protected Status (TPS)?
    A18: No. You can only request consideration of DACA under this process if you currently have no
    immigration status and were not in any lawful status on June 15, 2012.
    Q19: Will the information I share in my request for consideration of DACA be used for immigration
    enforcement purposes?
    A19: Information provided in this request is protected from disclosure to ICE and CBP for the purpose of
    immigration enforcement proceedings unless the requestor meets the criteria for the issuance of a Notice
    To Appear or a referral to ICE under the criteria set forth in the 2011 USCIS Notice to Appear guidance
    (www.uscis.gov/NTA). Individuals whose cases are deferred pursuant to DACA will not be referred to ICE.
    The information may be shared with national security and law enforcement agencies, including ICE and
    CBP, for purposes other than removal, including for assistance in the consideration of DACA, to identify or
    prevent fraudulent claims, for national security purposes, or for the investigation or prosecution of a
    criminal offense. The above information sharing policy covers family members and guardians, in addition
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    to the requestor. This policy, which may be modified, superseded, or rescinded at any time without notice,
    is not intended to, does not, and may not be relied upon to create any right or benefit, substantive or
    procedural, enforceable by law by any party in any administrative, civil or criminal matter.
    Q20: If my case is referred to ICE for immigration enforcement purposes or if I receive an NTA, will
    information related to my family members and guardians also be referred to ICE for immigration
    enforcement purposes?
    A20: If your case is referred to ICE for purposes of immigration enforcement or you receive an NTA,
    information related to your family members or guardians that is contained in your request will not be
    referred to ICE for purposes of immigration enforcement against family members or guardians. However,
    that information may be shared with national security and law enforcement agencies, including ICE and
    CBP, for purposes other than removal, including for assistance in the consideration of DACA, to identify or
    prevent fraudulent claims, for national security purposes, or for the investigation or prosecution of a
    criminal offense.
    This policy, which may be modified, superseded, or rescinded at any time without notice, is not intended
    to, does not, and may not be relied upon to create any right or benefit, substantive or procedural,
    enforceable at law by any party in any administrative, civil, or criminal matter.
    Q21: Will USCIS verify documents or statements that I provide in support of a request for DACA?
    A21: USCIS has the authority to verify documents, facts, and statements that are provided in support of
    requests for DACA. USCIS may contact education institutions, other government agencies, employers, or
    other entities in order to verify information.
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    C. Background Checks
    Q22: Will USCIS conduct a background check when reviewing my request for consideration of DACA?
    A22: Yes. You must undergo biographic and biometric background checks before USCIS will consider your
    DACA request.
    Q23: What do background checks involve?
    A23: Background checks involve checking biographic and biometric information provided by the
    individuals against a variety of databases maintained by DHS and other federal government agencies.
    Q24: What steps will USCIS and ICE take if I engage in fraud through the new process?
    A24: If you knowingly make a misrepresentation, or knowingly fail to disclose facts, in an effort to obtain
    DACA or work authorization through this process, you will be treated as an immigration enforcement
    priority to the fullest extent permitted by law, and be subject to criminal prosecution and/or removal from
    the United States.
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    D. After USCIS Makes a Decision
    Q25: Can I appeal USCIS’ determination?
    A25: No. You cannot file a motion to reopen or reconsider and cannot appeal the decision if USCIS denies
    your request for consideration of DACA.
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    You may request a review of your I-821D denial by 13523
                                                       contacting the USCIS Contact Center at 800-375-5283
    Monday to Friday, 8 a.m. to 8 p.m. Eastern. For people who are deaf, hard of hearing or have a speech
    disability: TTY 800-767-1833. You can have a Service Request created if you believe that you actually did
    meet all of the DACA guidelines and you believe that your request was denied because USCIS:
          Denied the request based on abandonment, when you actually responded to a Request for Evidence
          (RFE) or Notice of Intent to Deny (NOID) within the prescribed time;
          Mailed the RFE or NOID to the wrong address although you had changed your address online at
          www.uscis.gov or with a customer service representative on the phone and submitted a Form AR-11,
          Change of Address, before USCIS issued the RFE or NOID.
             To ensure the address is updated on a pending case as quickly as possible, we recommend that
             customers submit a change of address request at www.uscis.gov/addresschange. Please note that
             only an online change of address or a Form AR-11 submission will satisfy the legal requirements for
             notifying the agency of an address change. Therefore, if you called a customer service
             representative to change your address, please be sure you have also submitted your address
             change online or with a Form AR-11.
          Denied the request on the grounds that you did not come to the United States prior to your 16th
          birthday, but the evidence submitted at the time of filing shows that you did arrive before reaching
          that age.
          Denied the request on the grounds that you were under age 15 at the time of filing but not in removal
          proceedings, while the evidence submitted at the time of filing show that you indeed were in removal
          proceedings when the request was filed;
          Denied the request on the grounds that you were 31 or older as of June 15, 2012, but the evidence
          submitted at the time of filing shows that you were under the age of 31 as of June 15, 2012;
          Denied the request on the grounds that you had lawful status on June 15, 2012, but the evidence
          submitted at the time of filing shows that you indeed were in an unlawful immigration status on that
          date;
          Denied the request on the grounds that you were not physically present in the United States on June
          15, 2012, and up through the date of filing, but the evidence submitted at the time of filing shows that
          you were, in fact, present;
          Denied the request due to your failure to appear at a USCIS Application Support Center (ASC) to have
          your biometrics collected, when you in fact either did appear at a USCIS ASC to have this done or
          requested prior to the scheduled date of your biometrics appointment to have the appointment
          rescheduled; or
          Denied the request because you did not pay the filing fees for Form I-765, Application for Employment
          Authorization, when you actually did pay these fees
    Q26: If USCIS does not exercise deferred action in my case, will I be placed in removal proceedings?
    A26: If you have submitted a request for consideration of DACA and USCIS decides not to defer action in
    your case, USCIS will apply its 2011 policy guidance governing the referral of cases to ICE and the issuance
    of Notices to Appear (NTA). If your case does not involve a criminal offense, fraud, or a threat to national
    security or public safety, your case will not be referred to ICE for purposes of removal proceedings except
    where DHS determines there are exceptional circumstances. For more detailed information on the
    applicable NTA policy, visit www.uscis.gov/NTA. If after a review of the totality of circumstances USCIS

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    determines to defer action in your case, USCIS will13524
                                                        likewise exercise its discretion and will not issue you an
    NTA.
    Q27: Can my deferred action under the DACA process be terminated before it expires?
    A27: Yes. DACA is an exercise of prosecutorial discretion and deferred action may be terminated at any
    time, with or without a Notice of Intent to Terminate, at DHS’s discretion.
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    II. Initial Requests for DACA
    Q28: What guidelines must I meet to be considered for deferred action for childhood arrivals (DACA)?
    A28: Under the secretary of Homeland Security’s June 15, 2012 memorandum, in order to be considered
    for DACA, you must submit evidence, including supporting documents, showing that you:
       1. Were under the age of 31 as of June 15, 2012;
       2. Came to the United States before reaching your 16th birthday;
       3. Have continuously resided in the United States since June 15, 2007, up to the present time;
       4. Were physically present in the United States on June 15, 2012, and at the time of making your request
          for consideration of deferred action with USCIS;
       5. Had no lawful status on June 15, 2012*;
       6. Are currently in school, have graduated or obtained a certificate of completion from high school, have
          obtained a General Educational Development (GED) certificate, or are an honorably discharged
          veteran of the Coast Guard or Armed Forces of the United States; and
       7. Have not been convicted of a felony, significant misdemeanor, three or more other misdemeanors,
          and do not otherwise pose a threat to national security or public safety.
    These guidelines must be met for consideration of DACA. USCIS retains the ultimate discretion to
    determine whether deferred action is appropriate in any given case even if the guidelines are met.
    * Please review DACA FAQ 18 if you currently in a lawful immigration status.
    Q29: How old must I be in order to be considered for deferred action under this process?
    A29:
           If you have never been in removal proceedings, or your proceedings have been terminated before
           your request for consideration of DACA, you must be at least 15 years of age or older at the time of
           filing and meet the other guidelines.
           If you are in removal proceedings, have a final removal order, or have a voluntary departure order,
           and are not in immigration detention, you can request consideration of DACA even if you are under
           the age of 15 at the time of filing and meet the other guidelines.
           In all instances, you must have been under the age of 31 as of June 15, 2012, to be considered for
           DACA.
    Q30: I first came to the United States before I turned 16 years old and have been continuously
    residing in the United States since at least June 15, 2007. Before I turned 16 years old, however, I left
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    the United States for some period of time before13525
                                                     returning and beginning my current period of
    continuous residence. May I be considered for deferred action under this process?
    A30: Yes, but only if you established residence in the United States during the period before you turned 16
    years old, as evidenced, for example, by records showing you attended school or worked in the United
    States during that time, or that you lived in the United States for multiple years during that time. In
    addition to establishing that you initially resided in the United States before you turned 16 years old, you
    must also have maintained continuous residence in the United States from June 15, 2007, until the
    present time to be considered for deferred action under this process.
    Q31: To prove my continuous residence in the United States since June 15, 2007, must I provide
    evidence documenting my presence for every day, or every month, of that period?
    A31: To meet the continuous residence guideline, you must submit documentation that shows you have
    been living in the United States from June 15, 2007, up until the time of your request. You should provide
    documentation to account for as much of the period as reasonably possible, but there is no requirement
    that every day or month of that period be specifically accounted for through direct evidence.
    It is helpful to USCIS if you can submit evidence of your residence during at least each year of the period.
    USCIS will review the documentation in its totality to determine whether it is more likely than not that you
    were continuously residing in the United States for the period since June 15, 2007. Gaps in the
    documentation as to certain periods may raise doubts as to your continued residence if, for example, the
    gaps are lengthy or the record otherwise indicates that you may have been outside the United States for a
    period of time that was not brief, casual or innocent.
    If gaps in your documentation raise questions, USCIS may issue a Request for Evidence to allow you to
    submit additional documentation that supports your claimed continuous residence.
    Affidavits may be submitted to explain a gap in the documentation demonstrating that you meet the five-
    year continuous residence requirement. If you submit affidavits related to the continuous residence
    requirement, you must submit two or more affidavits, sworn to or affirmed by people other than yourself
    who have direct personal knowledge of the events and circumstances during the period as to which there
    is a gap in the documentation. Affidavits may only be used to explain gaps in your continuous residence;
    they cannot be used as evidence that you meet the entire five-year continuous residence requirement.
    Q32: Does “currently in school” refer to the date on which the request for consideration of deferred
    action is filed?
    A32: To be considered “currently in school” under the guidelines, you must be enrolled in school on the
    date you submit a request for consideration of deferred action under this process.
    Q33: Who is considered to be “currently in school” under the guidelines?
    A33: To be considered “currently in school” under the guidelines, you must be enrolled in:
          a public, private, or charter elementary school, junior high or middle school, high school, secondary
          school, alternative program, or homeschool program that meets state requirements;
          an education, literacy, or career training program (including vocational training) that has a purpose of
          improving literacy, mathematics, or English or is designed to lead to placement in postsecondary
          education, job training, or employment and where you are working toward such placement; or
          an education program assisting students either in obtaining a regular high school diploma or its
          recognized equivalent under state law (including a certificate of completion, certificate of

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          attendance, or alternate award), or in passing13526
                                                         a GED exam or other state-authorized exam (e.g., HiSet
          or TASC) in the United States.
    Such education, literacy, career training programs (including vocational training), or education programs
    assisting students in obtaining a regular high school diploma or its recognized equivalent under state law,
    or in passing a GED exam or other state-authorized exam in the United States, include, but are not limited
    to, programs funded, in whole or in part, by federal, state, county or municipal grants or administered by
    non-profit organizations. Programs funded by other sources may qualify if they are programs of
    demonstrated effectiveness.
    In assessing whether such programs not funded in whole or in part by federal, state, county or municipal
    grants or administered by non-profit organizations are of demonstrated effectiveness, USCIS will consider
    the duration of the program’s existence; the program’s track record in assisting students in obtaining a
    regular high school diploma or its recognized equivalent, in passing a GED or other state-authorized exam
    (e.g., HiSet or TASC), or in placing students in postsecondary education, job training, or employment; and
    other indicators of the program’s overall quality. For individuals seeking to demonstrate that they are
    “currently in school” through enrollment in such a program, the burden is on the requestor to show the
    program’s demonstrated effectiveness.

    Q34: How do I establish that I am currently in school?
    A34: Documentation sufficient for you to demonstrate that you are currently in school may include, but is
    not limited to:
          evidence that you are enrolled in a public, private, or charter elementary school, junior high or
          middle school, high school or secondary school; alternative program, or homeschool program that
          meets state requirements; or
          evidence that you are enrolled in an education, literacy, or career training program (including
          vocational training) that:
            has a purpose of improving literacy, mathematics, or English, or is designed to lead to placement in
            postsecondary education, job training, or employment and where you are working toward such
            placement; and
            is funded, in whole or in part, by federal, state, county or municipal grants or is administered by
            non-profit organizations, or if funded by other sources, is a program of demonstrated effectiveness;
            or
          evidence that you are enrolled in an education program assisting students in obtaining a high school
          equivalency diploma or certificate recognized under state law (such as by passing a GED exam or
          other such state-authorized exam [for example, HiSet or TASC]), and that the program is funded in
          whole or in part by federal, state, county or municipal grants or is administered by non-profit
          organizations or if funded by other sources, is of demonstrated effectiveness.
    Such evidence of enrollment may include: acceptance letters, school registration cards, letters from a
    school or program, transcripts, report cards, or progress reports which may show the name of the school
    or program, date of enrollment, and current educational or grade level, if relevant.

    Q35: What documentation may be sufficient to demonstrate that I have graduated from high school?
    A35: Documentation sufficient for you to demonstrate that you have graduated from high school may
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    include, but is not limited to, a high school diploma   from a public or private high school or secondary
    school, a certificate of completion, a certificate of attendance, or an alternate award from a public or
    private high school or secondary school, or a recognized equivalent of a high school diploma under state
    law, or a GED certificate or certificate from passing another such state authorized exam (e.g., HiSet or
    TASC) in the United States.
    Q36: What documentation may be sufficient to demonstrate that I have obtained a GED certificate or
    certificate from passing another such state authorized exam (e.g., HiSet or TASC)?
    A36: Documentation may include, but is not limited to, evidence that you have passed a GED exam, or
    other state-authorized exam (e.g., HiSet or TASC), and, as a result, have received the recognized
    equivalent of a regular high school diploma under state law.
    Q37: If I am enrolled in a literacy or career training program, can I meet the guidelines?
    A37: Yes, in certain circumstances. You may meet the guidelines if you are enrolled in an education,
    literacy, or career training program that has a purpose of improving literacy, mathematics, or English or is
    designed to lead to placement in postsecondary education, job training, or employment and where you
    are working toward such placement. Such programs include, but are not limited to, programs funded, in
    whole or in part, by federal, state, county or municipal grants or administered by non-profit organizations,
    or if funded by other sources, are programs of demonstrated effectiveness.
    Q38: If I am enrolled in an English as a Second Language (ESL) program, can I meet the guidelines?
    A38: Yes, in certain circumstances. Enrollment in an ESL program may be used to meet the guidelines if the
    ESL program is funded in whole or in part by federal, state, county or municipal grants, or administered by
    non-profit organizations, or if funded by other sources is a program of demonstrated effectiveness. You
    must submit direct documentary evidence that the program is funded in whole or part by federal, state,
    county or municipal grants, administered by a non-profit organization, or of demonstrated effectiveness.
    Q39: Will USCIS consider evidence other than that listed in Chart #1 to show that I have met the
    education guidelines?
    A39: No. Evidence not listed in Chart #1 will not be accepted to establish that you are currently in school,
    have graduated or obtained a certificate of completion from high school, or have obtained a GED or
    passed another state-authorized exam (e.g., HiSet or TASC). You must submit any of the documentary
    evidence listed in Chart #1 to show that you meet the education guidelines.
    Q40: Will USCIS consider evidence other than that listed in Chart #1 to show that I have met certain
    initial guidelines?
    A40: Evidence other than those documents listed in Chart #1 may be used to establish the following
    guidelines and factual showings if available documentary evidence is insufficient or lacking and shows
    that:
          You were physically present in the United States on June 15, 2012;
          You came to the United States before reaching your 16th birthday;
          You satisfy the continuous residence requirement, as long as you present direct evidence of your
          continued residence in the United States for a portion of the required period and the circumstantial
          evidence is used only to fill in gaps in the length of continuous residence demonstrated by the direct
          evidence; and
          Any travel outside the United States during the period of required continuous presence was brief,
          casual, and innocent.
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    However, USCIS will not accept evidence other than the documents listed in Chart #1 as proof of any of the
    following guidelines to demonstrate that you:
          Were under the age of 31 on June 15, 2012; and
          Are currently in school, have graduated or obtained a certificate of completion from high school, have
          obtained a GED certificate, or are an honorably discharged veteran of the Coast Guard or Armed
          Forces of the United States.
    For example, even if you do not have documentary proof of your presence in the United States on June 15,
    2012, you may still be able to satisfy the guideline. You may do so by submitting credible documentary
    evidence that you were present in the United States shortly before and shortly after June 15, 2012, which,
    under the facts presented, may give rise to an inference of your presence on June 15, 2012 as well.
    However, evidence other than that listed in Chart #1 will not be accepted to establish that you have
    graduated high school. You must submit the designated documentary evidence to satisfy that you meet
    this guideline.
    Chart #1 provides examples of documentation you may submit to demonstrate you meet the initial
    guidelines for consideration of deferred action under this process. Please see the instructions of Form I-
    821D, Consideration of Deferred Action for Childhood Arrivals, for additional details of acceptable
    documentation.
       Chart #1 Examples of Documents to Submit to Demonstrate You Meet the Guidelines

                                                          Passport or national identity document from your country of
                                                          origin
                                                          Birth certificate with photo identification
       Proof of identity
                                                          School or military ID with photo
                                                          Any U.S. government immigration or other document bearing
                                                          your name and photo




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       Chart #1 Examples of Documents to Submit to13529
                                                  Demonstrate You Meet the Guidelines

                                                          Passport with admission stamp
                                                          Form I-94/I-95/I-94W
                                                          School records from the U.S. schools you have attended
                                                          Any Immigration and Naturalization Service or DHS document
                                                          stating your date of entry (Form I-862, Notice to Appear)
                                                          Travel records
                                                          Hospital or medical records
                                                          Rent receipts or utility bills
       Proof you came to U.S.                             Employment records (pay stubs, W-2 Forms, etc.)
       before your 16th birthday                          Official records from a religious entity confirming participation in
                                                          a religious ceremony
                                                          Copies of money order receipts for money sent in or out of the
                                                          country
                                                          Birth certificates of children born in the U.S.
                                                          Dated bank transactions
                                                          Automobile license receipts or registration
                                                          Deeds, mortgages, rental agreement contracts
                                                          Tax receipts, insurance policies

                                                          Form I-94/I-95/I-94W with authorized stay expiration date
       Proof of immigration                               Final order of exclusion, deportation, or removal issued as of
       status                                             June 15, 2012
                                                          A charging document placing you into removal proceedings

       Proof of presence in U.S.                          Rent receipts or utility bills
       on June 15, 2012                                   Employment records (pay stubs, W-2 Forms, etc.)
                                                          School records (letters, report cards, etc.)
                                                          Military records (Form DD-214 or NGB Form 22)
                                                          Official records from a religious entity confirming participation in
                                                          a religious ceremony
                                                          Copies of money order receipts for money sent in or out of the
                                                          country
                                                          Passport entries
                                                          Birth certificates of children born in the U.S.

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       Chart #1 Examples of Documents to Submit to13530
                                                  Demonstrate You Meet the Guidelines
                                                          Dated bank transactions
       Proof you continuously                             Automobile license receipts or registration
       resided in U.S. since June                         Deeds, mortgages, rental agreement contracts
       15, 2007
                                                          Tax receipts, insurance policies

                                                          School records (transcripts, report cards, etc.) from the school
                                                          that you are currently attending in the United States showing the
                                                          name(s) of the school(s) and periods of school attendance and
                                                          the current educational or grade level
       Proof of your education                            U.S. high school diploma, certificate of completion, or other
       status at the time of                              alternate award
       requesting consideration
       of DACA                                            High school equivalency diploma or certificate recognized under
                                                          state law
                                                          Evidence that you passed a state-authorized exam, including the
                                                          GED or other state-authorized exam (for example, HiSet or TASC)
                                                          in the United States

                                                          Form DD-214, Certificate of Release or Discharge from Active
       Proof you are an                                   Duty
       honorably discharged                               NGB Form 22, National Guard Report of Separation and Record
       veteran of the U.S. Armed                          of Service
       Forces or the U.S. Coast
       Guard                                              Military personnel records
                                                          Military health records

    Q41: May I file affidavits as proof that I meet the initial guidelines for consideration of DACA?
    A41: Affidavits generally will not be sufficient on their own to demonstrate that you meet the guidelines for
    USCIS to consider you for DACA. However, affidavits may be used to support meeting the following
    guidelines only if the documentary evidence available to you is insufficient or lacking:
          Demonstrating that you meet the five-year continuous residence requirement; and
          Establishing that departures during the required period of continuous residence were brief, casual
          and innocent.
    If you submit affidavits related to the above criteria, you must submit two or more affidavits, sworn to or
    affirmed by people other than yourself, who have direct personal knowledge of the events and
    circumstances. Should USCIS determine that the affidavits are insufficient to overcome the unavailability
    or the lack of documentary evidence with respect to either of these guidelines, it will issue a Request for
    Evidence, indicating that further evidence must be submitted to demonstrate that you meet these
    guidelines.

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    USCIS will not accept affidavits as proof of satisfying the following guidelines:
          You are currently in school, have graduated or obtained a certificate of completion or other alternate
          award from high school, have obtained a high school equivalency diploma or certificate (such as by
          passing the GED exam or other state-authorized exam [for example, HiSet or TASC]), or are an
          honorably discharged veteran from the Coast Guard or Armed Forces of the United States;
          You were physically present in the United States on June 15, 2012;
          You came to the United States before reaching your 16th birthday;
          You were under the age of 31 on June 15, 2012; and
          Your criminal history, if applicable.
    If the only evidence you submit to demonstrate you meet any of the above guidelines is an affidavit, USCIS
    will issue a Request for Evidence, indicating that you have not demonstrated that you meet these
    guidelines and that you must do so in order to demonstrate that you meet that guideline.
    Q42: Will I be considered to be in unlawful status if I had an application for asylum or cancellation of
    removal pending before either USCIS or the Executive Office for Immigration Review (EOIR) on June
    15, 2012?
    A42: Yes. If you had an application for asylum or cancellation of removal, or similar relief, pending before
    either USCIS or EOIR as of June 15, 2012, but had no lawful status, you may request consideration of DACA.
    Q43: I was admitted for "duration of status" or for a period of time that extended past June 14,
    2012, but violated my immigration status (e.g., by engaging in unauthorized employment, failing to
    report to my employer, or failing to pursue a full course of study) before June 15, 2012. May I be
    considered for deferred action under this process?
    A43: No, unless the Executive Office for Immigration Review terminated your status by issuing a final order
    of removal against you before June 15, 2012.
    Q44: I was admitted for "duration of status" or for a period of time that extended past June 14, 2012
    but "aged out" of my dependent nonimmigrant status as of June 15, 2012. May I be considered for
    deferred action under this process?
    A44: Yes. For purposes of satisfying the “had no lawful status on June 15, 2012," guideline alone, if you
    were admitted for “duration of status” or for a period of time that extended past June 14, 2012 but “aged
    out” of your dependent nonimmigrant status, on or before June 15, 2012, (meaning you turned 21 years
    old on or before June 15, 2012), you may be considered for deferred action under this process.
    Q45: I was admitted for “duration of status” but my status in SEVIS is listed as terminated on or
    before June 15, 2012. May I be considered for deferred action under this process?
    A45: Yes. For the purposes of satisfying the ““had no lawful status on June 15, 2012,” guideline alone, if
    your status as of June 15, 2012, is listed as “terminated” in SEVIS, you may be considered for deferred
    action under this process.
    Q46: I am a Canadian citizen who was inspected by CBP but was not issued an I-94 at the time of
    admission. May I be considered for deferred action under this process?
    A46: In general, a Canadian citizen who was admitted as a visitor for business or pleasure and not issued
    an I-94, Arrival/Departure Record, (also known as a “non-controlled” Canadian nonimmigrant) is lawfully
    admitted for a period of six months. For that reason, unless there is evidence, including verifiable evidence
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    provided by the individual, that he or she was specifically advised that his or her admission would be for a
    different length of time, the Department of Homeland Security (DHS) will consider for DACA purposes only,
    that the noncitizen was lawfully admitted for a period of six months. Therefore, if DHS is able to verify
    from its records that your last non-controlled entry occurred on or before Dec. 14, 2011, DHS will consider
    your nonimmigrant visitor status to have expired as of June 15, 2012 and you may be considered for
    deferred action under this process.
    Q47: I used my Border Crossing Card (BCC) to obtain admission to the United States and was not
    issued an I-94 at the time of admission. May I be considered for deferred action under this process?
    A47: Because the limitations on entry for a BCC holder vary based on location of admission and travel,
    DHS will assume that the BCC holder who was not provided an I-94 was admitted for the longest period
    legally possible—30 days—unless the individual can demonstrate, through verifiable evidence, that he or
    she was specifically advised that his or her admission would be for a different length of time. Accordingly,
    if DHS is able to verify from its records that your last admission was using a BCC, you were not issued an I-
    94 at the time of admission, and it occurred on or before May 14, 2012, DHS will consider your
    nonimmigrant visitor status to have expired as of June 15, 2012, and you may be considered for deferred
    action under this process.
    Q48: Do I accrue unlawful presence if I have a pending initial request for consideration of DACA?
    A48: You will continue to accrue unlawful presence while the request for consideration of DACA is pending
    unless you are under 18 years of age at the time of the request. If you are under 18 years of age at the time
    you submit your request, you will not accrue unlawful presence while the request is pending, even if you
    turn 18 while your request is pending with USCIS. If action on your case is deferred, you will not accrue
    unlawful presence during the period of deferred action. However, having action deferred on your case will
    not excuse previously accrued unlawful presence.
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    III. Renewal of DACA
    Q49: When should I file my renewal request with U.S. Citizenship and Immigration Services (USCIS)?
    A49: USCIS strongly encourages you to submit your Deferred Action for Childhood Arrivals (DACA) renewal
    request between 150 days and 120 days before the expiration date located on your current Form I-797
    DACA approval notice and Employment Authorization Document (EAD). Filing during this window will
    minimize the possibility that your current period of DACA will expire before you receive a decision on your
    renewal request.
    USCIS’ current goal is to process DACA renewal requests within 120 days. You may submit an inquiry about
    the status of your renewal request after it has been pending more than 105 days. To submit an inquiry
    online, please visit egov.uscis.gov/e-request.
          Please Note: Factors that may affect the timely processing of your DACA renewal request include, but
          are not limited to:
            Failure to appear at an Application Support Center (ASC) for a scheduled biometrics appointment
            to obtain fingerprints and photographs. No-shows or rescheduling appointments will require
            additional processing time.
            Issues of national security, criminality or public safety discovered during the background check
            process that require further vetting.
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              Issues of travel abroad that need additional13533
                                                           evidence/clarification.
              Name/date of birth discrepancies that may require additional evidence/clarification.
              The renewal submission was incomplete or contained evidence that suggests a requestor may not
              satisfy the DACA renewal guidelines and USCIS must send a request for additional evidence or
              explanation
    Q50: Can I file a renewal request outside the recommended filing period of 150 days to 120 days
    before my current DACA expires?
    A50: USCIS strongly encourages you to file your renewal request within the recommended 150-120 day
    filing period to minimize the possibility that your current period of DACA will expire before you receive a
    decision on your renewal request. Requests received earlier than 150 days in advance will be accepted;
    however, this could result in an overlap between your current DACA and your renewal. This means your
    renewal period may extend for less than a full two years from the date that your current DACA period
    expires.
    If you file after the recommended filing period (meaning less than 120 days before your current period of
    DACA expires), there is an increased possibility that your current period of DACA and employment
    authorization will expire before you receive a decision on your renewal request. If you file after your most
    recent DACA period expired, but within one year of its expiration, you may submit a request to renew your
    DACA. If you are filing beyond one year after your most recent period of DACA expired, you may still
    request DACA by submitting a new initial request.
    Q51: How will USCIS evaluate my request for renewal of DACA:
    A51: You may be considered for renewal of DACA if you met the guidelines for consideration of Initial DACA
    (see above) AND you:
          Did not depart the United States on or after Aug. 15, 2012, without advance parole;
          Have continuously resided in the United States since you submitted your most recent request for
          DACA that was approved up to the present time; and
          Have not been convicted of a felony, a significant misdemeanor, or three or more misdemeanors, and
          do not otherwise pose a threat to national security or public safety.
    These guidelines must be met for consideration of DACA renewal. USCIS retains the ultimate discretion to
    determine whether deferred action is appropriate in any given case even if the guidelines are met.
    Q52 Do I accrue unlawful presence if I am seeking renewal and my previous period of DACA expires
    before I receive a renewal of deferred action under DACA? Similarly, what would happen to my work
    authorization?
    A52: Yes, if your previous period of DACA expires before you receive a renewal of deferred action under
    DACA, you will accrue unlawful presence for any time between the periods of deferred action unless you
    are under 18 years of age at the time you submit your renewal request.
    Similarly, if your previous period of DACA expires before you receive a renewal of deferred action under
    DACA, you will not be authorized to work in the United States regardless of your age at time of filing until
    and unless you receive a new employment authorization document from USCIS.
    Q53. Do I need to provide additional documents when I request renewal of deferred action under
    DACA?
    A53. No, unless you have new documents pertaining to removal proceedings or criminal history that you
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    have not already submitted to USCIS in a previously   approved DACA request. USCIS, however, reserves the
    authority to request at its discretion additional documents, information or statements relating to a DACA
    renewal request determination.
    CAUTION: If you knowingly and willfully provide materially false information on Form I-821D, you will be
    committing a federal felony punishable by a fine, or imprisonment up to five years, or both, under 18
    U.S.C. Section 1001. In addition, individuals may be placed into removal proceedings, face severe
    penalties provided by law, and be subject to criminal prosecution.
    Q54. If I am no longer in school, can I still request to renew my DACA?
    A54. Yes. Neither Form I-821D nor the instructions ask renewal requestors for information about
    continued school enrollment or graduation. The instructions for renewal requests specify that you may be
    considered for DACA renewal if you met the guidelines for consideration of initial DACA, including the
    educational guidelines and:
       1. Did not depart the United States on or after Aug. 15, 2012, without advance parole;
       2. Have continuously resided in the United States, up to the present time, since you submitted your
          most recent request for DACA that was approved; and
       3. Have not been convicted of a felony, a significant misdemeanor or three or more misdemeanors, and
          are not a threat to national security or public safety.
    Q55. If I initially received DACA and was under the age of 31 on June 15, 2012, but have since
    become 31 or older, can I still request a DACA renewal?
    A55. Yes. You may request consideration for a renewal of DACA as long as you were under the age of 31 as
    of June 15, 2012.


    IV. Travel
    Q56: May I travel outside of the United States before I submit an initial Deferred Action for
    Childhood Arrivals (DACA) request or while my initial DACA request remains pending with the
    Department of Homeland Security (DHS)?
    A56: Any unauthorized travel outside of the United States on or after Aug. 15, 2012, will interrupt your
    continuous residence and you will not be considered for deferred action under this process. Any travel
    outside of the United States that occurred on or after June 15, 2007, but before Aug. 15, 2012, will be
    assessed by USCIS to determine whether the travel qualifies as brief, casual and innocent. (See Chart #2.)
    CAUTION: You should be aware that if you have been ordered deported or removed, and you then leave
    the United States, your departure will likely result in your being considered deported or removed, with
    potentially serious future immigration consequences.
    Q57: If my case is deferred under DACA, will I be able to travel outside of the United States?
    A57: Not automatically. If USCIS has decided to defer action in your case and you want to travel outside
    the United States, you must apply for advance parole by filing a Form I-131, Application for Travel
    Document and paying the applicable fee. USCIS will determine whether your purpose for international
    travel is justifiable based on the circumstances you describe in your request. Generally, USCIS will only
    grant advance parole if your travel abroad will be in furtherance of:

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          humanitarian purposes, including travel to obtain  medical treatment, attending funeral services for a
          family member, or visiting an ailing relative;
          educational purposes, such as semester-abroad programs and academic research, or;
          employment purposes such as overseas assignments, interviews, conferences or, training, or
          meetings with clients overseas.
    Travel for vacation is not a valid basis for advance parole.
    You may not apply for advance parole unless and until USCIS defers action in your case under the
    consideration of DACA. You cannot apply for advance parole at the same time as you submit your request
    for consideration of DACA. All advance parole requests will be considered on a case-by-case basis.
    If USCIS has deferred action in your case under the DACA process after you have been ordered deported or
    removed, you may still request advance parole if you meet the guidelines for advance parole described
    above.
    CAUTION: However, for those individuals who have been ordered deported or removed, before you
    actually leave the United States, you should seek to reopen your case before the Executive Office for
    Immigration Review (EOIR) and obtain administrative closure or termination of your removal proceeding.
    Even after you have asked EOIR to reopen your case, you should not leave the United States until after
    EOIR has granted your request. If you depart after being ordered deported or removed, and your removal
    proceeding has not been reopened and administratively closed or terminated, your departure may result
    in your being considered deported or removed, with potentially serious future immigration consequences.
    If you have any questions about this process, you may contact U.S. Immigration and Customs Enforcement
    (ICE) through the local ICE Office of the Chief Counsel with jurisdiction over your case.
    CAUTION: If you travel outside the United States on or after Aug. 15, 2012, without first receiving advance
    parole, your departure automatically terminates your deferred action under DACA.
    Q58: Do brief departures from the United States interrupt the continuous residence requirement?
    A58: A brief, casual and innocent absence from the United States will not interrupt your continuous
    residence. If you were absent from the United States, your absence will be considered brief, casual and
    innocent if it was on or after June 15, 2007, and before Aug. 15, 2012, and:
       1. The absence was short and reasonably calculated to accomplish the purpose for the absence;
       2. The absence was not because of an order of exclusion, deportation or removal;
       3. The absence was not because of an order of voluntary departure, or an administrative grant of
          voluntary departure before you were placed in exclusion, deportation or removal proceedings; and
       4. The purpose of the absence and/or your actions while outside the United States were not contrary to
          law.
    Once USCIS has approved your request for DACA, you may file Form I-131, Application for Travel
    Document, to request advance parole to travel outside of the United States.
    CAUTION: If you travel outside the United States on or after Aug. 15, 2012, without first receiving advance
    parole, your departure automatically terminates your deferred action under DACA.
    Travel Guidelines (Chart #2)
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       Travel Dates            Type of Travel            Does It Affect Continuous Residence

                               Brief, casual             No
                               and innocent

                               For an
                               extended
                               time
       On or after             Because of
       June 15,                an order of
       2007, but               exclusion,
       before Aug.             deportation,
       15, 2012                voluntary                 Yes
                               departure, or
                               removal
                               To
                               participate in
                               criminal
                               activity

       On or after
       Aug. 15,
       2012, and
       before you              Any
       have                                              Yes. You cannot apply for advance parole unless and until DHS
       requested                                         has determined whether to defer action in your case and you
       deferred                                          cannot travel until you receive advance parole.
       action
                                                         In addition, if you have previously been ordered deported and
                                                         removed and you depart the United States without taking
       On or after             Any                       additional steps to address your removal proceedings, your
       Aug. 15,                                          departure will likely result in your being considered deported or
       2012, and                                         removed, with potentially serious future immigration
       after you                                         consequences.
       have
       requested
       deferred
       action




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       Travel Dates            Type of Travel            Does It Affect Continuous Residence

       On or after
       Aug. 15,                                          It depends. If you travel after receiving advance parole, the travel
       2012 and                Any                       will not interrupt your continuous residence. However, if you
       after                                             travel without receiving advance parole, the travel will interrupt
       receiving                                         your continuous residence.
       DACA

    Q59: May I file a request for advance parole concurrently with my DACA package?
    A59: Concurrent filing of advance parole is not an option at this time.
    Q60: Will USCIS expedite the processing of a DACA I-131 advance parole application?
    A60: No. As a general matter of course, expedite requests will not be granted, because USCIS will make
    every effort to process the advance parole request quickly; however, if you are experiencing an extremely
    urgent situation, you may request an emergency advance parole appointment at your local field office by
    contacting the USCIS Contact Center. You should bring the following items to your appointment:
          A completed and signed Form I-131, Application for Travel Document;
          The correct Form I-131 filing fee;
          Evidence to support the emergency request (e.g. medical documentation, death certificate, etc.); and
          Two passport-style photos.
                                                                                                                             Return to top.

    V. Criminal Convictions
    Q61: If I have a conviction for a felony offense, a significant misdemeanor offense, or multiple
    misdemeanors, can I receive an exercise of prosecutorial discretion under this new process?
    A61: No. If you have been convicted of a felony offense, a significant misdemeanor offense, or three or
    more other misdemeanor offenses not occurring on the same date and not arising out of the same act,
    omission, or scheme of misconduct, you will not be considered for Deferred Action for Childhood Arrivals
    (DACA) except where the Department of Homeland Security (DHS) determines there are exceptional
    circumstances.
    Q62: What offenses qualify as a felony?
    A62: A felony is a federal, state, or local criminal offense punishable by imprisonment for a term exceeding
    one year.
    Q63: What offenses constitute a significant misdemeanor?
    A63: For the purposes of this process, a significant misdemeanor is a misdemeanor as defined by federal
    law (specifically, one for which the maximum term of imprisonment authorized is one year or less but
    greater than five days) and that meets the following criteria:
       1. Regardless of the sentence imposed, is an offense of domestic violence; sexual abuse or exploitation;
          burglary; unlawful possession or use of a firearm; drug distribution or trafficking; or, driving under the
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          influence; or,
       2. If not an offense listed above, is one for which the individual was sentenced to time in custody of
          more than 90 days. The sentence must involve time to be served in custody, and therefore does not
          include a suspended sentence.
    The time in custody does not include any time served beyond the sentence for the criminal offense based
    on a state or local law enforcement agency honoring a detainer issued by U.S. Immigration and Customs
    Enforcement (ICE). Notwithstanding the above, the decision whether to defer action in a particular case is
    an individualized, discretionary one that is made taking into account the totality of the circumstances.
    Therefore, the absence of the criminal history outlined above, or its presence, is not necessarily
    determinative, but is a factor to be considered in the unreviewable exercise of discretion. DHS retains the
    discretion to determine that an individual does not warrant deferred action on the basis of a single
    criminal offense for which the individual was sentenced to time in custody of 90 days or less.
    Q64: What offenses constitute a non-significant misdemeanor?
    A64: For purposes of this process, a non-significant misdemeanor is any misdemeanor as defined by
    federal law (specifically, one for which the maximum term of imprisonment authorized is one year or less
    but greater than five days) and that meets the following criteria:
       1. Is not an offense of domestic violence; sexual abuse or exploitation; burglary; unlawful possession or
          use of a firearm; drug distribution or trafficking; or, driving under the influence; and
       2. Is one for which the individual was sentenced to time in custody of 90 days or less. The time in
          custody does not include any time served beyond the sentence for the criminal offense based on a
          state or local law enforcement agency honoring a detainer issued by ICE.
    Notwithstanding the above, the decision whether to defer action in a particular case is an individualized,
    discretionary one that is made taking into account the totality of the circumstances. Therefore, the
    absence of the criminal history outlined above, or its presence, is not necessarily determinative, but is a
    factor to be considered in the unreviewable exercise of discretion.
    Q65: If I have a minor traffic offense, such as driving without a license, will it be considered a non-
    significant misdemeanor that counts towards the “three or more non-significant misdemeanors”
    making me unable to receive consideration for an exercise of prosecutorial discretion under this new
    process?
    A65: A minor traffic offense will not be considered a misdemeanor for purposes of this process. However,
    your entire offense history can be considered along with other facts to determine whether, under the
    totality of the circumstances, you warrant an exercise of prosecutorial discretion.
    It is important to emphasize that driving under the influence is a significant misdemeanor regardless of
    the sentence imposed.
    Q66: What qualifies as a national security or public safety threat?
    A66: If the background check or other information uncovered during the review of your request for
    deferred action indicates that your presence in the United States threatens public safety or national
    security, you will not be able to receive consideration for an exercise of prosecutorial discretion except
    where DHS determines there are exceptional circumstances. Indicators that you pose such a threat
    include, but are not limited to, gang membership, participation in criminal activities, or participation in
    activities that threaten the United States.

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    Q67: Will offenses criminalized as felonies or misdemeanors
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                                                                by state immigration laws be
    considered felonies or misdemeanors for purpose of this process?
    A67: No. Immigration-related offenses characterized as felonies or misdemeanors by state immigration
    laws will not be treated as disqualifying felonies or misdemeanors for the purpose of considering a request
    for consideration of deferred action under this process.
    Q68: Will DHS consider my expunged or juvenile conviction as an offense making me unable to
    receive an exercise of prosecutorial discretion?
    A68: Expunged convictions and juvenile convictions will not automatically disqualify you. Your request will
    be assessed on a case-by-case basis to determine whether, under the particular circumstances, a
    favorable exercise of prosecutorial discretion is warranted. If you were a juvenile, but tried and convicted
    as an adult, you will be treated as an adult for purposes of the DACA process.
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    VI. Miscellaneous
    Q69: Does deferred action provide me with a path to permanent resident status or citizenship?
    A69: No. Deferred action is a form of prosecutorial discretion that does not confer lawful permanent
    resident status or a path to citizenship. Only the Congress, acting through its legislative authority, can
    confer these rights.
    Q70: Can I be considered for deferred action even if I do not meet the guidelines to be considered for
    DACA?
    A70: This process is only for individuals who meet the specific guidelines for DACA. Other individuals may,
    on a case-by-case basis, request deferred action from U.S. Citizenship and Immigration Services (USCIS) or
    U.S. Immigration and Customs Enforcement (ICE) in certain circumstances, consistent with longstanding
    practice.
    Q71: How will ICE and USCIS handle cases involving individuals who do not satisfy the guidelines of
    this process but believe they may warrant an exercise of prosecutorial discretion under the June
    2011 Prosecutorial Discretion Memoranda?
    A71: If USCIS determines that you do not satisfy the guidelines or otherwise determines you do not
    warrant an exercise of prosecutorial discretion, then it will decline to defer action in your case. If you are
    currently in removal proceedings, have a final order, or have a voluntary departure order, you may then
    request ICE consider whether to exercise prosecutorial discretion.
    Q72: How should I fill out question 9 on Form I-765, Application for Employment Authorization?
    A72. When you are filing a Form I-765 as part of a DACA request, question 9 is asking you to list those Social
    Security numbers that were officially issued to you by the Social Security Administration.
    Q73: Will there be supervisory review of decisions by USCIS under this process?
    A73: Yes. USCIS has implemented a successful supervisory review process to ensure a consistent process
    for considering requests for DACA.
    Q74: Will USCIS personnel responsible for reviewing requests for DACA receive special training?
    A74: Yes. USCIS personnel responsible for considering requests for consideration of DACA have received
    special training.

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    Q75: Must attorneys and accredited representatives
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                                                          who provide pro bono services to deferred
    action requestors at group assistance events file a Form G-28 with USCIS?
    A75: Under 8 C.F.R. §§ 292.3 and 1003.102, practitioners are required to file a Notice of Entry of Appearance
    as Attorney or Accredited Representative when they engage in practice in immigration matters before
    DHS, either in person or through the preparation or filing of any brief, application, petition, or other
    document. Under these rules, a practitioner who consistently violates the requirement to file a Form G-28
    may be subject to disciplinary sanctions; however on Feb. 28, 2011, USCIS issued a statement indicating
    that it does not intend to initiate disciplinary proceedings against practitioners (attorneys and accredited
    representatives) based solely on the failure to submit a Notice of Entry of Appearance as Attorney or
    Accredited Representative (Form G-28) in relation to pro bono services provided at group assistance
    events. DHS is in the process of issuing a final rule at which time this matter will be reevaluated.
    Q76: When must an individual sign a Form I-821D as a preparer?
    A76: Anytime someone other than the requestor prepares or helps fill out the Form I-821D, that individual
    must complete Part 5 of the form.
    Q77: If I provide my employee with information regarding his or her employment to support a
    request for consideration of DACA, will that information be used for immigration enforcement
    purposes against me and/or my company?
    A77: You may, as you determine appropriate, provide individuals requesting DACA with documentation
    which verifies their employment. This information will not be shared with ICE for civil immigration
    enforcement purposes under section 274A of the Immigration and Nationality Act (relating to unlawful
    employment) unless there is evidence of egregious violations of criminal statutes or widespread abuses.
    Q78: Can I request consideration for deferred action under this process if I live in the Commonwealth
    of the Northern Mariana Islands (CNMI)?
    A78: Yes, in certain circumstances. The CNMI is part of the United States for immigration purposes and is
    not excluded from this process. However, because of the specific guidelines for consideration of DACA,
    individuals who have been residents of the CNMI are in most cases unlikely to qualify for the program. You
    must, among other things, have come to the United States before your 16th birthday and have resided
    continuously in the United States since June 15, 2007.
    Under the Consolidated Natural Resources Act of 2008, the CNMI became part of the United States for
    purposes of immigration law only on Nov. 28, 2009. Therefore entry into, or residence in, the CNMI before
    that date is not entry into, or residence in, the United States for purposes of the DACA process.
    USCIS has used parole authority in a variety of situations in the CNMI to address particular humanitarian
    needs on a case-by-case basis since Nov. 28, 2009. If you live in the CNMI and believe that you meet the
    guidelines for consideration of deferred action under this process, except that your entry and/or residence
    to the CNMI took place entirely or in part before Nov. 28, 2009, USCIS is willing to consider your situation
    on a case-by-case basis for a grant of parole. If this situation applies to you, you should make an
    appointment through INFOPASS with the USCIS ASC in Saipan to discuss your case with an immigration
    officer.
    Q79: Someone told me if I pay them a fee, they can expedite my DACA request. Is this true?
    A79: No. There is no expedited processing for deferred action. Dishonest practitioners may promise to
    provide you with faster services if you pay them a fee. These people are trying to scam you and take your
    money. Visit our Avoid Scams page to learn how you can protect yourself from immigration scams.

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    Make sure you seek information about requests for13541
                                                       consideration of DACA from official government
    sources such as USCIS or the DHS. If you are seeking legal advice, visit our Find Legal Services page to
    learn how to choose a licensed attorney or accredited representative.
    Q80: Am I required to register with the Selective Service?
    A80: Most male persons residing in the U.S., who are ages 18 through 25, are required to register with
    Selective Service. Please see link for more information. [Selective Service].
    Q81: How can I tell if an employer is discriminating against me because I am a DACA recipient?
    A81: An employer may be engaging in discrimination if the employer:
          Demands that an employee show specific documents or asks for more or different documents than
          are required to complete Form I-9, Employment Eligibility Verification, or create an E-Verify case; or
          Rejects documents from the Lists of Acceptable Documents that reasonably appear to be genuine
          and relate to the employee, including a work authorization document because it has a future
          expiration date or because of an employee’s prior unauthorized status.
    The Civil Rights Division of the U.S. Department of Justice has an office dedicated to ensuring that
    employers do not discriminate against individuals who are permitted to work in the U.S. These include
    DACA recipients who have been granted work authorization. If you think your employer may be
    discriminating against you, contact the Immigrant and Employee Rights Section (IER) at 1-800-255-7688
    (TDD for the deaf and hard of hearing: 1-800-237-2515).
    For more information about unfair employment practices against DACA recipients, please read IER’s
    factsheet in English (PDF) or Spanish (PDF).
    For additional resources and information about workers’ rights, visit www.justice.gov/crt/worker-
    information.
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